Case 1:05-cr-00885-FB   Document 4   Filed 04/12/06   Page 1 of 5 PageID #: 35
Case 1:05-cr-00885-FB   Document 4   Filed 04/12/06   Page 2 of 5 PageID #: 36




                                        s/ Roanne L. Mann
Case 1:05-cr-00885-FB   Document 4   Filed 04/12/06   Page 3 of 5 PageID #: 37
Case 1:05-cr-00885-FB   Document 4   Filed 04/12/06   Page 4 of 5 PageID #: 38
Case 1:05-cr-00885-FB   Document 4   Filed 04/12/06   Page 5 of 5 PageID #: 39
